                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          EASTERN DIVISION
                           No. 4:23-CV-5-M-KS


KATHY LANDIS, on behalf of herself)
and all others similarly situated,)
                                  )
    Plaintiffs,                   )
                                  )
       v.                         )                         ORDER
                                  )
THE ELEVANCE HEALTH COMPANIES, )
INC., f/k/a THE ANTHEM COMPANIES, )
INC., and AMERIGROUP CORPORATION, )
                                  )
    Defendants.                   )



      This matter is before the court on the parties’ Joint Motion for Discovery

Conference to address Defendants’ assertion of attorney-client privilege and the

work-product doctrine in response to discovery requests propounded by Plaintiffs.

Prior to the filing of the instant motion, the court held a number of non-final pretrial

conferences to address discovery disputes between the parties. (See, e.g., Minute

Entries [DE ## 79, 83, 86, 101].) Given the protracted history of the parties’ discovery

dispute, the procedural posture of the case, and the nature of the discovery dispute,

the court finds that further conference is unlikely to aid in resolution of the parties’

dispute.

      Accordingly, the court DENIES the parties’ Joint Motion for Discovery

Conference [DE #103]. If the parties are unable to resolve their discovery dispute,

Plaintiffs may file an appropriate motion, with supporting memorandum of no more




     Case 4:23-cv-00005-M-KS       Document 105      Filed 04/08/25   Page 1 of 2
than ten (10) pages or 2800 words, by Aprill 22,, 2025. If Plaintiffs are requesting an

award of attorney’s fees and other expenses pursuant to Rule 37, the motion shall

also be accompanied by an affidavit of any reasonable attorney’s fees and expenses

sought. Defendants shall have ten
                                n (10)) days thereafter to file a memorandum of no

more than ten (10) pages or 2800 words in response to any such discovery motion filed

by Plaintiffs.

       This 8th day of April 2025.


                                         __________________________________________
                                         _____
                                            ______
                                               ____
                                               __ ____
                                                    ___________________
                                                                     ____
                                                                        ________________
                                         KIMBERLY
                                         KIIMBERLY   LY
                                                      Y A. SWANK
                                         United States Magistrate Judge




                                           2

     Case 4:23-cv-00005-M-KS         Document 105    Filed 04/08/25   Page 2 of 2
